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 1
                              UNITED STATES DISTRICT COURT
 2
                                        DISTRICT OF NEVADA
 3

 4   UNITED STATES OF AMERICA,

 5          Plaintiff,                                   Case No. 2:16-CR-00305-KJD-VCF

 6   v.

 7   KAREEN ANDERSON,                                    ORDER

 8          Defendant.

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10          Before the Court for consideration is Defendant’s Motion to Strike the Words Crip and Gang

11   Member (#93). The Court will consider the Motion as one in limine to prevent introduction of the

12   phrase in the Government’s case in chief. The Government filed a response in partial opposition

13   (#105) to which the Defendant did not reply.

14          Defendant is a documented member of the Back Street Crips and is known as “Lil’ Spyder.”

15   Defendant informed this Court that he is a member of the Crips in his Motion for Amendment of

16   Detention. The Court considered this information in its Order (#85) wherein this Court found that

17   Defendant failed to rebut the presumption that no condition or combination of conditions will

18   reasonably assure the appearance of Defendant at trial and the safety of the community due to being

19   charged with a drug offense for which the maximum term of imprisonment is 10 years or more. See

20   18 U.S.C. § 3142(e)(3)(A); see also (#85).

21          Additionally, according to the Government, numerous calls were intercepted wherein

22   Defendant made mention of the fact that he is a Crip. The Government contends that it does not

23   intend to introduce evidence of Defendant’s gang affiliation during its case in chief, however it

24   reserves the right to do so on rebuttal. The Court will reconsider the issue after Defense rests its case.

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 1         Accordingly, IT IS THEREFORE ORDERED that Defendant’s Motion to Strike the

 2   Words Crip and Gang Member (#93) is Denied as Moot.

 3         DATED this ______
                      13th day of June 2017.
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                                             _____________________________
 5                                           Kent J. Dawson
                                             United States District Judge
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